    Case 4:12-cr-00009-MLB-WEJ Document 248 Filed 07/14/14 Page 1 of 1
                                                          FILED IN CHAMBERS
                                                             U.S.D.C. - Rome
                      UNITED STATES DISTRICT COURT              JUL 1 4 2014
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION              JAMM. 'flfZ!j~rk

TEDRICK DIRELL WHITERS,
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            Movant,                      CRIMINAL ACTION NO.
                                         4:12-CR-0009 RLV-WEJ-l
      v.
UNITED STATES OF AMERICA,                CIVIL ACTION NO.
                                         4:14-CV-0042-RLV-WEJ
            Respondent.


                                  o R D E R
     After carefully considering the report and recommendation of

the magistrate judge [Doc. No. 241], together with the objections

thereto,   the court adopts the report and recommendation as the

opinion and order of this court.
                            {i.
     SO ORDERED, this     I~~     day of July, 2014.




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                            Senior United States District Judge
